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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-1(b)   BAILEY GLASSER LLP
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  COOLEY LLP                                        Thomas B. Bennett (admitted pro hac vice)
  Cullen D. Speckhart (admitted pro hac vice)       Kevin W. Barrett (admitted pro hac vice)
  Michael Klein (admitted pro hac vice)             Maggie B. Burrus (admitted pro hac vice)
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  Local Counsel to the
  Official Committee of Talc Claimants II
  In re:                                                  Chapter 11

  LTL MANAGEMENT LLC,                                     Case No.: 21-30589 (MBK)

                          Debtor.                         Honorable Michael B. Kaplan


            MONTHLY FEE STATEMENT OF SHERMAN, SILVERSTEIN,
   KOHL, ROSE & PODOLSKY, P.A., LOCAL COUNSEL TO OFFICIAL COMMITTEE OF
                   TALC CLAIMANTS II, FOR THE PERIOD OF
                     MAY 1, 2022 THROUGH MAY 31, 2022

        Sherman, Silverstein, Kohl, Rose & Podolsky, P.A. (“Sherman Silverstein”) submits this

Monthly Fee Statement for Services Rendered and Expenses Incurred as local counsel to the

Official Committee of Talc Claimants II (the “Statement”) for the period commencing May 1, 2022 and

ending May 31, 2022 (the “Statement Period”), pursuant to the Order Establishing Procedures for Interim

Compensation and Reimbursement of Retained Professionals and the Modified Order Establishing

Procedures for the Allowance of Interim Compensation and Reimbursement of Expenses Retained

(Docket Nos. 761, 870).

        The billing invoices for the Statement Period are annexed hereto as Exhibit “A.” These invoices

detail the services performed. A detailed breakdown of all out-of-pocket disbursements necessarily incurred

by Sherman Silverstein is annexed hereto as Exhibit “B.” The fees sought in the within Statement Period

are as follows:

            Fees                    Less 20%                Fee Payment                 Expense
                                                             Requested              Reimbursement
                                                                                        (100%)
 $5,565.00                  $1,113.00                   $4,452.00                $954.50

        WHEREFORE, Sherman Silverstein respectfully requests interim payment of fees for this

Statement Period in the sum of $4,452.00, together with expenses of $954.50, for a total requested interim

payment of $5,406.50.




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Date: June 15, 2022
                                           SHERMAN, SILVERSTEIN,
                                           KOHL, ROSE & PODOLSKY, P.A.
                                           Local Counsel to the Official Committee of Talc
                                           Claimants II

                                           By:     /s/ Arthur J. Abramowitz
                                                   ARTHUR J. ABRAMOWITZ




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